Case 2:17-cr-00106-GRB         Document 376         Filed 01/21/25     Page 1 of 39 PageID #: 1651




           Executive Grant of Clemency
 TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

         I HEREBY COMMUTE the total sentence of imprisonment each of the following named
  persons is now serving to expire on February 17, 2025. If applicable, I also remit up to $10,000
  of the unpaid balance of the fine or restitution amount imposed by the court that remains at the end
  of each person's respective sentence. For any individual that has a term of supervised release or
  other components of the sentence, I leave intact and in effect the term of supervised release
  imposed by the court with all its conditions and all other components of the sentence. The
  following persons are recipients of this grant of clemency:


   Name                        Reg. No.                  Name                        Reg. No.

   TYRON ADAMS                 08446-509                 JOHN'NY BOONE               74055-083

   VERNON ADAMS                23094-018                 RJCARDO BOWE                60432-509

   DANTE ALLEN                 52522-074                 TERRY BRANTLEY              24635-171

   JASON ALLISON               10649-078                 IVAN BREA                   87478-054

   STEVEN ALSTON               53726-424                 MARCUS                      28279-057
                                                         BROADNAX
   DEMARCUS                    19032-078
   ANDERSON                                              DEMETRJUS BROCK             92107-280

   DAMIEN BANKS                29901-009                 LARRY BROOKS                24603-045

   WILLIAM BAPTISTE            42737-509                 FRANK BROWN                 081 12-509

    KEON BAPTISTE-             13368-036                 EARL BURGEST                53598-004
    HARRIS
                                                         DEREK BURGOS                62270-054
    CHARLES BATTLE             89680-083
                                                         ANTHONY BURTON              79350-054
    LARRY BAYER                 85777-054
                                                         IVAN BURTON                 23142-5 10
    BRANDON BELL                71329-054
                                                          DARRYL CARR                26056-052
    ANTOINE BLACK               76831-067
                                                          TERRENCE CARTER            40030-424
    FRANKLIN                    43638-510
    BLACKMON                                              TYRESE CARTER               41372-509

    MICHAEL                     04538-017                 ALEX CHRISTIE               92476-054
    BLANKENSHIP
                                                          MARK.CLARK                  21883-424
    DERRICK BOONE               65373-037
                                                          ED COGSWELL                 07202-036



                                               Page 1 of 39
Case 2:17-cr-00106-GRB    Document 376     Filed 01/21/25   Page 2 of 39 PageID #: 1652



  Name                   Reg. No.             Name                   Reg. No.

  GAGE COLSON            64473-509            DEMETRIUS GILL          10119-032

  RONALD CONNER          48160-044            DON GLENN               17524-029

  RODNEY                 82985-083            JOHN GRANT              58432-509
  COVINGTON
                                              DAMEION GREEN           18936-078
  BILLY CRAWFORD         12727-171
                                              JAMES GROVES            66229-509
  KHALIF CRAWFORD        70910-509
                                              ANTONIO                 55285-509
  THOMAS CRITTEN         63849-050            GUERRERO

  ERIC CL'RTIS           09315-095            TIMOTHY HALL            57939-177

  COURTNEY DASHER        42263-018             SANTIWAN HARPER        45017-074

  AARON DAVIS            66816-510             DOUGLAS HARRIS         85466-509

  CHARLES DAVIS          30328-424             RAJAE HARRIS           34058-057

  CURTIS DENTON          98190-111             JOHN HENDERSON         56522-060

  CALVIN DIXON           22472-171             YOMAR                  32881-069
                                               HERNANDEZ-
  MARK DRUMMOND          57955-083             MALDONADO


  HENRY DC'PREE          31313-009             DWAYNE HERRING         65723-056


  CARLTON ELLIS          57613-018             BEN HICKMAN            05830-027


  YUSEF ELLIS            73517-050             MACHEOHILL             28133-177


  HOWARD ENDSLEY         20955-075             CHRISTY HINES          45933-074


  JAMES ESTRELLA         34406-018             WILLIAM HINTON         71532-510


  MAX EUGENE             99117-509             RYAN HOLLAND           27814-057


  MONTE EVANS            31171-044             CLEVIS HOLMES          11325-025


  MARION FIELDS          17011-021             DONALD HUNTER          14916-016


  JOSE FONTANEZ          38037-510             JEFFREY HL'NTER        80236-083


  ANTHONY FONZIE         29458-009             RONALD HUNTER          13067-510


  BRIAN FORD             61542-510             RICKY INGRAM           23573-057


  MAREO FREEMAN          89697-083             LEQUESHA JACK          07616-510


   ERNEST GAMBLE         48854-509             JOSHUA JACKSON         07634-510



                                     Page 2 of 39
Case 2:17-cr-00106-GRB    Document 376     Filed 01/21/25    Page 3 of 39 PageID #: 1653



  Name                   Reg. No.              Name                    Reg. No.

  KEONTREY               98529-280             SHALAMAR                52818-509
  JACKSON                                      MCCALL

  FILLIPE JAMES          16551-084             KENNETI I MCCLEES       56409-056

  ALFONDA JAMISO]';"     22589-171             MARKYRIE MCCRAY         74717-004

  AARON JOHNSON          56372-039             HIRAM MCGIRT            43152-074

  BRANDON JOHNSON        87515-054             ERJC MCREYNOLDS         64593-060

  DEMONTAJOHNSON         59097-177             MANUEL MENDES           25208-038

  DEVr.-.1 JOHNSON       08793-510             DAVONMIAL               59310-509

  KENDALL JOHNSON        61486-510             OTIS MICKENS            63867-509

  MICHAEL JOHNSON        54658-177             MICHAEL                 87224-012
                                               MONTALVO
  CI IRISTOPHER          19874-026                                     92659-509
  JONES                                         JAVIER MONTEZ

  ALTON KEATON           12138-380              KEISHONNE MOORE        64514-037

  CEDRIC KELLY           32032-034              CHARLES                10043-510
                                                MULDROW
  KYAKEY                 01015-510
                                                TYRELL MURPHY          00865-509
  LESLIE LAMAR           89347-079
                                                SEAN NAUGLE            63369-509
  TORRANCE               08042-509
  LANGHORNE                                     CLIFFORD NOEL          34605-183

  JESSE LEAVY            54860-424              PATRICK O'BRIEN        91453-053

  KAREEM LEMAY           92379-053              THOMAS ORR             04867-087

  SCOTT LONG             99200- 179             EDWARD OUTLEY          15760-180

  NAMON LUCKEY           35266-057              OKENYPAELI             23023-509

   ERIC MAXTON           72942-067              COREY PARKER           59316-056

   CARLTON MAY           25846-056              TERRONN                49949-5 10
                                                PATTERSON
   CURTIS MCARTHUR       16252-171
                                                JOSE PEREZ              11689-509
   ANTHONY MCCAIN        43434-074
                                                HAROLD PERKINS         40165-424
   LARRY MCCALISTER 42066-480
                                                JOHNATHAN              94046-510
                                                PULLEY



                                      Page 3 of 39
Case 2:17-cr-00106-GRB    Document 376     Filed 01/21/25   Page 4 of 39 PageID #: 1654



  ~ame                   Reg. No.              Name                   Reg. ~o.

  MAURICE PURCELL        48060-509             MICHAEL TC"CKER        82788-509

  JAMALPCSEY             55241-019             DESHARRLEQUE           20700-026
                                               VESEY
  HECTOR RAMIREZ-        52232-069
  PIETRI                                       DAVID VORTIES          14252-026

  ALFONSO RAMOS          76954-509             STEPHEN WALL           66574-509

  ANGELO REED            78801-112             DONNELL WALTERS        16469-078

   DONIELLE RIVERS       67467-018             JOSEPH WARD            13259-055

   TYSAAN ROBINSON       90345-053             ANTONIO                55124-510
                                               WASHINGTON
   ANTHONY ROSS          47972-424
                                               CALVIN WATSON          63150-037
   MICOL SEARS           22376-078
                                               DERRJCK WAITS          13264-510
   MICHAEL SHAW          76079-067
                                               ODELL WELLS            33168-034
   WILLIAM SHAW          65118-509
                                               ANTHONY WEST           66209-060
   SEKOU SIMPSON         59258-509
                                               PHILLIP                53906-037
   JASON SIPLIN          4884 1-509            WHITEHURST


   ERNEST SMALLS         58624-509             ALPHONSE                99484-510
                                               WILLIAMS
   WAYNE SMITH           33135-183
                                                REDELL WILLIAMS        31101 -510
   JER.\1AINE SPEED      19676-026
                                                SHAWN WILLIAMS         095 17-033
   DEMETRIUS SPENCE      55200-056
                                                THOMAS WILLIAMS        22223-510
   ELDRIDGE SUMLIN       27340-044
                                                WAUKEEM                27151-078
                                                WILLIAMS
   SAMCEL TAYLOR         36150-044
                                                TYREQUE WILSON         5761 1-510
   TROY TAYLOR           42764-509

                                                JERMAINE               90773-083
   DEMARCUS              28142-057              WOODSON
   THOMAS
                                                DENTON WORRELL         13101-036
   SHONETA THOMAS         12918-510

                                                JAVON WRIGHT           78672-054
   DEONTE THOMPSON        94061-509
                                                JEREMY YATES           32997-509
   TERRELL TINSLEY        49993-509

                                                DOMINIC YORK           08792-095
   JAMIE TOBY             02721-104




                                      Page 4 of 39
Case 2:17-cr-00106-GRB         Document 376        Filed 01/21/25    Page 5 of 39 PageID #: 1655



       I hereby further commute the total sentence of imprisonment each of the following named
persons is now serving to expire on March 18, 2025. If applicable, I also remit up to $10,000 of
the unpaid balance of the fine or restitution amount imposed by the court that remains at the end
of each person's respective sentence. For any individual that has a term of supervised release or
other components of the sentence, I leave intact and in effect the term of supervised release
imposed by the court with all its conditions and all other components of the sentence. The
following persons are recipients of this grant of clemency:


 Name                       Reg No.                   Name                      Reg No.

 DGSTIN ADAMS               54000-037                 FRANCIS BELL              16790-424

 GARY ADAMS                 38462-018                 KARL BELL                 67340-004

 JOSE ALOMAR-               50903-069                 CHARLIE BELLS              17251-171
 SANTOS
                                                      AMONDO BENNETT            23081 -171
 DARREN ALSTON              59613-509
                                                      JACKSON BENNETT           22717-032
 CARL ANDREWS                91 454-053
                                                      REGINALD BLACK            25669-075
 SPENCER ANTOINE             32221 -013
                                                      BARBARO BONILLA            58413-509
 RAMON ARAMBULA              32980-479
                                                      JENNIFER                   55410-509
 KIETA ARMSTEAD              05988-082                BOSWORTH

 DEL'RENO                    10463-509                KIMBERLY BOWEN             62999-019
 ARMSTRONG
                                                      JACOB BOWLING              62444-037
 GILBERT                     26513-479
 ARREDONDO                                            EDWARD BRACKENS            12139-380

  RANDOLPH AUSTIN            20427-058                ALFRED BRAGG               19075-510

  DEWITT BAILEY              55530-177                 DWAYNE BRIGHAM            46056-177

  LBAILEY                    08581-025                 BRYSON BRIGHT             56607-177

  TERCEL BAKER               44102-037                 RAYMOND BRISKEY           33308-509

  GERALD BARBER              16917-003                 KENNETH BRONSON           66539-056

  A."\JTHONY BARBOZA 04538-380                         RODNEY BROOKS             34360-044

  JONATHAN BARNES            38819-060                 CARLA BROWN               65 109-509

  WARDELL BAR."\JES          66730-060                 GARFIELD BROWN            01760-510

  DONNELL BARROW             08361-029                 JEFFREY BROWN             42810-424

  STACE BEALE                73898-509                 HENRY BRUCE               09581-068

  RICKY BEASLEY               17306-510                SHACARA BRYANT            72287-018

  RAYMOND BELCHER 55187-074                            HENRI BUCKNER             26121-039




                                            Page 5 of 39
Case 2:17-cr-00106-GRB    Document 376     Filed 01/21/25   Page 6 of 39 PageID #: 1656



  Name                   Reg No.                Name                  Reg No.

  ANTHONY BCLLOCK 22539-171                     EDIEL DEVILLA-        05242-509
                                                MOREAU
  MIGUEL BURGOS          90517-509
                                                ANTYWON DILLARD       57596-177
  RODNEY BC-RRELL        53323-056
                                                DARVIN DINKINS        63096-037
  CHONICE BURTLEY        19708-026
                                                TONY DOUGLAS          30672-076
  JERMAYNE BUTLER        25724-014
                                                EDWARD DUNSON         27554-180
  RICKY BYNUM            36437-004
                                                VIRGIL EARP           33204-171
  RICHARD                01 421 -093
  CABACCANG                                     SPENCER EASTING       45408-074

  JONATHAN               58945-509              KW AME EDDINGS        06273-068
  CALDERON
                                                CONRAD EDGAR          75655-509
  VONZELLE CAREY         08269-087
                                                CEDRIC EDWARDS        26550-009
   DONRIGUS              33009-171
   CARRAWAY                                     HERMAN EDWARDS        10915-059

   JULIO CASIANO-        52081 -069             RICHARD EDWARDS       38436-509
   SANTANA
                                                ZION ELAM-STURGIS      18344-509
   CAL VIN CAVER         54496-060
                                                DAVID ELLIS           20908-041
   BRUCE CHANCE          55773-056
                                                COREY FARMER           58286-056
   QUINTAVIOUS           75108-509
   CLARK                                        DARREN FARMER          62536-037

   EMORY CLEMONS         17536-074              ROBERT FARRIS          56253-060

   DWAYNE COOLEY         72210-004              JOSHUA FAVORS          63058-280

   REGINALD              75701-067              DELSO FERREIRA         81328-053
   CORPENING
                                                NELSON FERRY           25905-014
   TREY COUNCIL          34859-509
                                                 ANTHONY FIELDS        32120-177
   BRYAN CROSS            08075-088
                                                 DONALD FIELDS         46696-509
   ANDREWCRCZ            97153-038
                                                 DEMARCUS              62871-509
   BRIAN                  40272-509              FLENTROY
   CUNNINGHAM
                                                 ROBERT FLETCHER       03103-509
   DARELL CURRY           34385-171
                                                 TYRON FORMAN          23453-078
   RAMAL CCRTIS           85779-054
                                                 STEVEN FOWLER         19955-057
   DAMIAN DALTON          29313-509
                                                 MARQUIS FRA~KLIN      35700-510
   KRISTOPHER             58796-056
   DANIELS                                       LARRY FCLLER          85766-053

                                                 TERRENCE GAILES       09526-026


                                       Page 6 of 39
Case 2:17-cr-00106-GRB     Document 376      Filed 01/21/25   Page 7 of 39 PageID #: 1657



 Name                    Reg No.                Name                  Reg No.

 ROBERT GAITHER          05927-025              JASSON HART           63869-509

 TORRENCE GAtVIBLE       25735-014              WILLIE HART           26063-017

 CARLOS                  83720-053              CLINTON HARVELL       42129-007
 GARCIARIVERO
                                                MARKTAVEUS            90060-083
 KELAND GAR.~ ER         07301 -027             HAWKINS

 RICKY GARRISON          40459-013              RONALD                 55114-177
                                                HAWTHORNE
 ROLLIE GILLIAM          94332-004
                                                TREMAINE HEIM          97262-509
 MARKEY GOLDSTON 34875-057
                                                RICHARD                33973-171
 DAVID GONZALEZ          07926-055              HEMINGWAY

 JALEN GOODMAN           02194-480              SERGIO HERNANDEZ 94714-038

 EULLIS GOODWIN          46370-074              MANUEL                 17887-509
                                                HERNANDEZ-
 DARRYL GRAHAM           71517-019              GARCIA

 ELAXGRAHAM              50740-056              CHRISTOPHER            32354-509
                                                HERRJNG
 KEONGRANT               13615-509
                                                DEONTRE HILLS          33268-034
 DA'EONGRAY              66461-060
                                                SHELBY HINES           87833-054
 VINCENT GRAY            91645-509
                                                KAMARI HOLLIS          126 16-510
 KEVIN HALL              57178-056
                                                LAWRENCE               408 16-044
 DANIELLE                70471-01 8             HOWARD
 HALLMON
                                                ROLAND HOWARD          83471-007
 LARRY HAMIL TON         42128-509
                                                 SEKOU HOWARD          23353-055
 CHRISTOPHER             29992-379
 HAMLET                                          TERRENCE              46591-039
                                                 HUMPHREY
 AKO HANDY               17922-016
                                                 DERROLD Hli'NT        17667-280
 JACKSON HANDY           39762-510
                                                 TIMMY HUNT            02629-509
  GRADY HANKS            68824-097
                                                 ODUMEQWU              09560-017
  RASHAAD HARCUM         44202-509               INGRAM

  JENNIFER HARDY         90564-509               DARNEL JACKSON        32094-160

  ELLIS HARP              14679-035              JOSEPH JACKSON        60201-177

  CHARLES                 65919-056              KOTARRAJACKSON        91245-053
  HARRINGTON
                                                 MAURICE JACKSON       59204-509
  MARCUS HARRIS           10741 -029
                                                 TYLER JACKSON         34132-057
  ELGIN HART              20372-510


                                       Page 7 of 39
Case 2:17-cr-00106-GRB   Document 376      Filed 01/21/25    Page 8 of 39 PageID #: 1658



   Name                  Reg No.                Name                    Reg No.

   NOE JAIMES            14766-180              THEO MARTIN             38416-007

   SIDNEY JARVIS         03048-095              LAWRENCE                56848-180
                                                ~ATLOCK
   EDWARD JENNINGS       54657-177
                                                FRANK MAXWELL           86394-054
   WESLEY JEROME         42107-074
                                                BRETT MAYHEW            65271-056
   TAWAYMEJETT           55754-060
                                                RAYMOJ\;D               10548-025
   CLEVONJOHNSON         27180-509              MCCARVEY

   COREY JOHNSON         37766-034              TAVARES MCCRAY          19629-104

   DONALD JOHNSON        58435-177              DEMETRIUS               12435-026
                                                MCCULLOUGH
   ERIC JOHNSON          34811-171
                                                TYSIIA~ MCDADE          22508-014
   TERRY JOHNSON         37815-510
                                                JOHN MCGAUTHA           23671-045
   KELFA KAMARA          57475-007
                                                KATLYN MCGIRR           50975-509
   JONATHAN              18463-280
   KAVANAUGH                                    JUSTIN MCGOWAN          58157-039

   ALEX KELLUM           18450-047              EDWARD MCKINZIE         52050-424

   ADRIS KIMBROUGH       36992-001              GREGORY MCKOY           54609-056

   DEYVONKING            32999-009              ALOYSIUS                27102-171
                                                MCLAUGHLIN
   WAYNE KING            64885-056
                                                DERRICO                 16958-043
   ANTOWAN               54858-424              MCMURTERY
   LAMBERT
                                                SAMUEL MCNEELY          22603-057
   EMILIO LAMBOY-        54133-069
   PERDOMO                                      DEMETRIOS               59783-056
                                                MCNEILL
   DEMETRIUS             259 16-075
   LANCASTER                                    GERARDO                 68614-379
                                                MELENDEZ
   GEOFFREY LARRY        99611-020
                                                ERIC METZ               52249-509
   RAYMOND               03005-089
   LAWRENCE                                     PAUL METZ               37844-034

   JOSHUA LENNON         07324-509              COREY MILES             5772 1-177

   GLEN LOVE             18440-112              JEREMY MILES            92794-083

   JOANNE L YDEM         13841 -509             DION MILLER             19491-026

   ANTHONY MADDOX        63232-056              JAMES MILTON            67716-060

   ALEXANDER             17206-029              JOSE MITIL              71022-054
   MARTIN
                                                LEWIS MOORE             55967-056
   JOHNNY MARTIN         17697-104


                                      Page 8 of 39
Case 2:17-cr-00106-GRB     Document 376      Filed 01/21/25   Page 9 of 39 PageID #: 1659



  Name                    Reg No.               Name                   Reg No.

  PAUL MOORE              26413-052             MARCL'"S PRITCHETT     17055-003

  EDWIN MORALES           12402-082             JAIMERE PROSSER        14165-021

  HUMBERTO                88351-054             HASSAN RAHEEM          68394-053
  MORALES
                                                KATIA RAMOS            76353-054
  JAMES MOREAU            27924-180
                                                 EDGARDO RAMOS-        88662-509
  MOSES MORENO            17064-026              RODRIGUEZ

  TODD MORRIS             24388-016              ROBBIE RAY            31868-034

  WILLIAM MORRISON        75980-061              STANLEY REDDICK       25373-014

  JOHNNIE MOSLEY          07610-025              TYRELL REVIS          44942-509

  STEVEN NAPIER           54255-074              ANDREW RILEY          22763-021

  QUENTIN NASH            10211 -084             RANDY RIVERA           08924-082

  JAMELL NEWBER.i."l\;"   05169-025              LAMONT ROBERTS         27811-016

  RAIMlJNDO NIEVES        87610-054              DEMORY ROBINSON        27741-171

  MELVIN NOOKS            16258-049              JAMAAR ROBINSON        30170-177

  RUDY PADEREZ            41018-177              SHAQUAN                57729-037
                                                 ROBINSON
  OSCAR PAIGE             40731-074
                                                 THOMAS ROBINSON        56382-039
  NICHOLAS PAISLEY        67466-018
                                                 JUANITA                17666-579
  LAZEIGH                 57116-039              RODRIGUEZ
  PATTERSON
                                                 DAMIAN ROGERS          17385-003
  FREDERICK PAL'L         08536-095
                                                 VIRGINIA ROGERS        54422-509
  REYNALDO PEREZ-         52087-069
  MARRERO                                        MICHAEL ROPER          47408-074

  RODNEY PETTAWAY         25564-056              ANDRE ROSADO           80495-038

  RENE PHERGUSON          89751-509              CARL ROY               09234-015

  JAMES PIXLEY            59014-037              BRIAN RUNNELS          36643-510

  DUJL'AN PLEASANT        24333-052              BENJAMIN               35172-083
                                                 SANJURJO
  JAMAR PLUNKETT          10030-025
                                                 STEVEN SCOTT           13336-052
  CHRISTOPHER             34539-171
  POLITE                                         LERON SEALES           07609-028

  DONTRAYE POTTER         48740-177              SONTAE SELLERS         58478-509

  TERRANCE POWELL         27259-180              QUENTIN SIMON          1281 7-049

  MAURICE PREVO           10747-003


                                       Page 9 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25     Page 10 of 39 PageID #:
                                    1660


Name                 Reg No.               Name                 Reg No.

KONSTANDINOS         92256-053             PATRICIA TORRES      25624-031
SIOMOS
                                           KENNETH              33585-068
WILLIE SMALL         85357-509             TOWNSEND

JERRY SMITH          48837-044             KENTRELL TURNER      21178-035

KYUTEN SMITH         77974-061             NATHANIEL            10377-003
                                           VANZANT
MARQUETTE SMITH      15105-010
                                           DEREK WAITHE         05407-025
MIKAL SMITH          56308-509
                                           KENTREVIUS           17390-003
THOMAS SMITH         17945-076             WASHINGTON

LARRY SOWELL         66291-060             RICHARD              22349-040
                                           WEDDINGTON
QUINTON SPINKS       28172-055
                                           CHRISTOPHER          51565-424
MARK STEPHENS        84639-007             WELLS

VENSON               19766-509             HAKIWHALEY           68038-066
STRICKLAND
                                           STEPHON WHITLEY      53100-056
LARRY SULLIVAN,      42900-074
JR.                                        STEPHEN              69867-066
                                           WILKERSON
PATRICK              27716-018
SYLVESTER                                  CURTIS WILLIAYIS     67366-018

ZANIE TALIAFERRO     48714-509             DARRYL WILLIAMS      57620-018

MICHAEL TAYLOR       15131-026             FLOYD WILLIAMS       33693-018

KENNETH              29083-078             LAVAR WILLIAMS       22184-509
THIBODEAUX
                                           RENDELL WILLIAMS     18586-042
JERROD THIGPEN       78973-083
                                           TRAMEL WILLIAMS      57358-177
ANTONIO              18246-509
THOMPSON                                   WALTER WILLIAMS      67792-060

PATRICK              19151-038             WILLIAM WILLIAMS     63600-060
THOMPSON
                                            BRIAN WILSON        26450-045
STEVIOUS             31151-171
THOMPSON                                    ANTHONY WINSTON      13845-002

THEODORE             19902-040              LEVESTER WOODS       14672-171
THOMPSON
                                            TERRY WOODS          22037-057
CEDRIC THORNTON      68150-280
                                            NATHANIEL            90025-509
DAYID TIDWELL        16401-006              WOOTEN

MALCHAI TILLMAN      04936-095              ARNOLD WRIGHT        46541-039

IVAN TORRES          03438-509              ANTOINE YOUNG        76866-061




                                 Page 10 of 39
Case 2:17-cr-00106-GRB          Document 376 Filed 01/21/25            Page 11 of 39 PageID #:
                                           1661


 Name                        Reg No.                  Name                        Reg No.

 JARIS YOUNGBLOOD            55490-018                JEFFREY ZACCANTI            66686-018

 JAVION YOUNGER              00785-511



        I hereby further commute the total sentence of imprisonment each of the following named
persons is now serving to expire on April 17, 2025. If applicable, I also remit up to $10,000 of the
unpaid balance of the fine or restitution amount imposed by the court that remains at the end of
each person's respective sentence. For any individual that has a term of supervised release or other
components of the sentence, I leave intact and in effect the term of supervised release imposed by
the court with all its conditions and all other components of the sentence. The following persons
are recipients of this grant of clemency:


 Name                        Reg. :'.'Jo.             Name                        Reg. No.

 TROY AARO~                  29566-018                 MALIK BEAN-                 79021-509
                                                       BOUSSEALT
 ROOSEVELT                   22653-001
 ADAMSON                                               CHARLES BEARD               67543-060

 STANLEY AIKEN               17897-171                 WALTER BEATON               34870-171

 MARVIN AKINS                27023-009                 QUINCY BETHLEY              56468-177

 DANIEL ALFORD               16600-074                 RODNEY BIBBS                31726-177

 MARK ALLIE                  68389-054                 YVES BLAKE                  01398-120

 AARON ANDERSON              08714-030                 LAMAR BLAKE                44574-424

 TYJUAN ANDERSON             53258-424                 RAFAEL BOLIVAR              09851-104
                                                       TINEO
 KEVIN ARDOIN                19884-035
                                                       JOHN BONDS                  12287-040
 LESLIE ARMSTRONG            25750-009
                                                       EDWARD BOOKER               08646-030
 DOMINIQUE ACSBIE            86356-279
                                                       JENON BOSTWICK              72278-050
 JOHN BAGENT                 31872-034
                                                       JOHN BRADBERRY              61366-050
 MACRICE BAILEY              28406-057
                                                       JOHN BRADLEY                21229-041
 DEXTER BANKS                91534-083
                                                       MALIK BREEDLOVE             87584-054
 DARYL BARLEY                14643-084
                                                       DARREN BREWER               19054-026
 ARTAVIUS BARRETT            34762-057
                                                       SEKOU BROOKS                08792-068
 DEMARCUS                    29452-009
 BAYLARK                                               EMERS ON BROOKS             21150-026



                                            Page 11 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25      Page 12 of 39 PageID #:
                                    1662


Name                 Reg. No.             Name                   Reg. No.

GREGORY BROOKS       70410-018            DEVON CULVER           43883-054

TONY BROWN           46326-074            ERNEST                 36979-001
                                          Cill-JNINGHAM
LOUIS BRO\\l'N       35820-083
                                          LEONARD                43413-510
CHARRON BGTTS        53471-083            C~INGHAM

MICHAEL CABASSA      16825-014            STEPHON DAVIS          35567-016

JACQGES CAMPBELL     28830-057            DARWIN DIAL            63523-056

MARK CAY!PBELL       70906-050            ALVIN DORSEY           43328-018

BRADFORD CANNON      38036-054            FREDERICK DRANE        12880-049

SHAKARA CARTER       17193-097            LAMAR DUERSON          07583-028

TERRANCE CARTER      22476-075            MORRIS DUKES           68071-380

KORDAYE CARTER       30154-047            MARCUS DURHAM          33917-058

ZACHARY              67028-066            QUANTASEDMOND          41119-509
CHAMBERS
                                          DEREK EDWARDS          14375-026
ELIJAHA CHESTNUT     64614-509
                                          KEVIN EDWARDS          26153-01 7
DYQUAN               87511-054
CHRISTOPHER                               ROBERT EVANS           64767-056

FRANKLIN             75179-509            QUADRICK               53700-056
CLINKSCALES                               EVERETTE

DOI\ALD COLE         04815-088            MARKEVIN               07688-036
                                          FAUCETTE
JOHN COLEMA~, III    21114-001
                                          JUAN FERNANDEZ         67050-054
GARRY COLLINS        08155-036
                                          JAMES FLOWERS          63969-056
KEANDRE CONNER       32075-171
                                          MATTHEW FLOYD          08705-509
WILLETTE COOPER      59677-509
                                          CHARLES FORD           55870-039
DWAYNE COOPER        76361-066
                                          GREGORY FOUST          30333-509
FELIX CORDERO        37714-054
                                          ROCHELLE               21179-041
NAZARIO CORTES       51147-018            FREEMAN


JIMMIE CRAIN         71403-510            HENRY FRESNOZA         02134-093

VANESSA CROWE        15427-002            SIMONE GADDY           83296-509




                                 Page 12of39
Case 2:17-cr-00106-GRB     Document 376 Filed 01/21/25       Page 13 of 39 PageID #:
                                      1663


Name                 Reg. No.                 Name                  Reg. No.

JEREMIAH GARRETT     08946-025                D'ANDRE HART          56406-509

HOLLYWOOD GILL       08845-032                ARITIIA HARVEY        07886-027

DIONTE GIPSON        11439-480                NAZIM HASSAM          76935-067

CHRISTOPHER          72964-018                JACOBY HILDREDTH      23456-078
GLOSTER
                                              BRANDEN HILL          27112-045
DE'MARJAE            62416-510
GOGGANS                                       TERRELL HILL          26863-058

CARLOS GOMEZ         12008-035                CARLOS HILL           12500-045

JAMES GRANT          51707-424                CHARLES HILL          50140-510

MATTHEW GRANT        92505-083                KARLTON               31644-510
                                              HILLYARD
KIRK GRANTHAM        03631-087
                                               ARTHUR HODGES        02611-509
RAYMOND GREEN        34909-045
                                               TANESHA HOLDER        08672-030
STERLING GREEN       15062-171
                                               KESEAN HOLLEY         73711-509
KENDRICK GREEN       31549-171
                                               JOSEPH HORTON         21725-026
JIMMIE GRIFFIN       44757-509
                                               JONTUE HOSEY          16778-043
JEROME GROSS         98782-509
                                               ROBERT HOWARD         18104-104
JONATHAN             04497-510
GUITERREZ-DIAZ                                 HARITII HUNTER        48466-509

CHRISTOPHER          68320-510                 RAYTODRIC             10412-380
GUTIERREZ                                      HUTCHINSON

GREGORY HALL         28090-057                 JAMIL INGRAM          41999-039

JONATHAN              56659-177                ROGER JACKSON         49550-177
HAMILTON
                                               JAMIAN JACKSON        27747-180
TERRENCE                 75261-380
HAMILTON
                                               MALCOLM JACKSON       03586-095

 ASHONTA                 12701-058
                                               QUAMONTA              64499-037
 HAMMOND
                                               JACKSON

 ABDOOL HANNE            87979-054
                                               TERRELL               14587-480
                                               JEFFERSON
 TYRONE HARRIS           24302-510
                                                MELVIN JOHNSON       18522-030
 ROBERT HARRIS-          64630-037
 HOWELL



                                     Page 13 of 39
Case 2:17-cr-00106-GRB     Document 376 Filed 01/21/25        Page 14 of 39 PageID #:
                                      1664


Name                 Reg. ~o.                  Name                   Reg. No.

CREVONTE             89648-007                 TYRONE LIGON           91536-053
JOHNSON
                                               MAURICE LITTLES        51142-039
LARRY JOHNSON        86189-280
                                               CEDRIC LIVINGSTON 35127-058
DONTE JOHNSON        82700-083
                                               TRAVIS LOKEY           95836-020
DARRELL JOHNSON      21352-041
                                               TIMOTHY LONG           02920-509
JAZZMEEK JOHNSON     11358-510
                                               MALCOLM LOPEZ          69977-018
SEABJOHNSON          09929-028
                                               ANTOINE LUNDY          80676-083
ERIC JOHNSON         70717-067
                                               JOSHUA MACKEY          76480-509
OSHAY JONES          17348-084
                                               STEPHANIE ~ACKIE- 33680-171
DONTE JONES          51828-056                 HATTEN

ANTHONY JONES        42370-424                 MARVIN MADDOX          17473-171

DEMARCUS JONES       14466-032                 NAQUIS MARTIN          42549-509

TYRONE JOYNER        39804-509                 CHRISTOPHER            13636-036
                                               MARTINEZ
DARRYL               43836-074
KENDRICKS                                      MYKI MCBRIDE           30709-510

PHEODKHAN            08425-510                 STEPHON MCCAIN         23362-057

JAHKEL LAMAR         14620-067                 WILLIAM MCCLOUD        17183-027

SEAN LAMBERT         60509-050                 KENDEL MCKINNEY        07321-025

SEDRICK LAWSON       73243-004                 WESLEY MCKINNEY        08450-058

CORNELIC'S LAZARD    33151-034                 REGINALD               27104-171
                                               MCKINNON
BYRON LEAVY          29903-009
                                                WILLIAM MCNEALY       07346-029
KEVIN LEE            23967-509
                                                CHRISTOPHER           22409-511
EDDIE LEE            93329-509                  MELTON


DANIEL LEGGETTE      08781 -088                 MARTIN MENDEZ         64829-004


ANTHONY LEMAY            18194-058              WILLIAM MERCER        32504-068


ADRIAN LEVELLS       42513-177                  TERRON MICHAUX        30371-058


KHA YYAN LEWIS           66684-509              FREDERICK MILLER      14203-003




                                     Page 14 of 39
Case 2:17-cr-00106-GRB     Document 376 Filed 01/21/25       Page 15 of 39 PageID #:
                                      1665


 Name                    Reg. No.              Name                  Reg. No.

 EARNEST MILLER          28310-034             WILLIAM PEELE         92791-083

 RONALD MILLER           86807-054             ROBERT                22418-026
                                               PENNINGTON
 DERRICK MILLER          80469-004
                                               XAVIER PETERSON       78244-083
 CORNELIUS               17379-026
 MITCHELL                                      CURTIS PHILLIPS       76269-097

 QUENTIN MIXSON          63463-050             OMAR PHILLIPS         25288-171

 ANTONIO                 27453-076             RICARDO PIERRE-       04517-036
 MO1'.'TGOMERY                                 LOUIS

 RC'BEN MORALES          75210-067             JEROME PLEASANT-      05523-509
                                               SIMPSON
 RANDALL MORGAN          07955-509
                                               KEANA PORTER          17085-027
 JUSTI1'.' MORROW        50386-018
                                               DEMAR POWELL          70060-097
 JACOB MOSLEY            20488-509
                                               JERRY POWELL          22182-057
 RAAJHAUN                71233-050
 MUHAMMAD                                      JOSEPH PRATER         82715-083

 DAVID MURRELL           56592-056             TERRAUN PRICE         07121-027

 ASMAR NEWSOME           75803-083             LARRY PROCTOR         00020-707

 KENYA NICHOLSON         15435-064             JUANPC'ELLO           74101-067

 DOUGLAS NORRIS          00449-138             JONAS QUALLS          55374-112

 CALVIN ODOM             16638-112             DEMARCUS              27612-177
                                               RAKESTRAW
 RAYMOND OLIVER          65736-060
                                               HAKIM RASHID          27630-057
 SHAWN O'NEAL            68695-018
                                               TIMOTHY READE         22007-032
 GERALD O'NEAL           56743-056
                                               WAVERLY REEVES        38080-509
 NATHANAEL ORTIZ         61129-054
                                               CHRISTIA]'; REID      34214-058
 TYRESE OVERLY           22709-032
                                               KEVIN REVELS          63350-056
 FERDINAND               09946-069
 PADILLA-TROCHE                                HENRY                 72961-510
                                               RICHARDSON
 JAMES PARKER            16248-104
                                               JOSEAN RIVERA-        45659-069
 TESMONE PASCHAL         31448-074             VARGAS

                                               ANTONIO RIVERS        323 17-1 7 1


                                     Page 15 of39
Case 2:17-cr-00106-GRB      Document 376 Filed 01/21/25         Page 16 of 39 PageID #:
                                       1666


Name                 Reg. No.                   Name                   Reg. No.

WARDELL              37172-034                  DANNY SMITH            34028-183
ROBINSON
                                                DOUGLAS SMITH          70368-510
DEMYRON              16882-040
ROBTNSON
                                                CHRISTOPHER             34263-057
                                                SNIPES
TYRONE ROBINSON      54505-007
                                                IBN SPIVEY              15936-509
CHRIS ROBY           28865-510
                                                WARREN SPRUILL          32309-171
MARTIN RODRIGUEZ 29003-479
                                                CHRISTOPHER             34760-057
MARTIN ROSS          87784-054                  STAN BACK

JAY ROSS             66338-061                  MELVIN STANFORD         16254-049

RICHARD RUDISILL     16833-058                  SANTANA STEELE          55154-424

JONATHAN             42372-086                  RONALD                  64503-037
RUSHING                                         STEVENSON

JARONRUTH            27896-055                  JEFFREY STINES          35457-001

JONATHAN RYLES       96020-020                  JOSHUA STRADER          17432-171

ERICE SALSBERRY      19784-031                  KEDRIO                  8608 1-083
                                                SUMMERVILLE
WALTER SANDERS       08242-025
                                                KAWANIS SUTTON          45596-509
LASSINE SANGHO       12246-082
                                                DJUANESYKES             22060-031
CHARLES SCOTT        27700-018
                                                KENNETH                 55673-177
A~THONY              55194-056                  TANl',;IEHILL
SCROGGINS
                                                HORACE TAYLOR           26513-171
CEDRIC SHEPHARD      66762-060
                                                TYREE TERRELL           19380-424
CHRISTOPHER          33400-510
SLAPPY                                          MARLOW TERRY            44694-083

:'1ATHANIEL SLATER   59242-054                  CORTEECE THARP          97753-509

ADOLPHUS SMITH           11365-090               DION THOMAS            44399-424

CHARLES SMITH            16967-043               LIONEL THOMAS          37456-034

COURTNEY SMITH           8421 1-509              ROBERT THOMAS          10523-027

ANTHONY SMITH            18975-510               MICHAEL THOMAS         65473-060

 DESMOND SMITH           20999-509               CRAIG THOMPSON         16188-041




                                      Page 16 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 17 of 39 PageID #:
                                    1667


Name                 Reg. No.              Name                    Reg. No.

OB THOMPSON          57987-177             DAVID WHITE             38394-509

JERMAINE TILLMAN     20976-171             HERBERT WHITELEY 99123-509

DIMARCO TOLES        13902-045             TEVIN WILFONG           56120-510

GERRGON TOLLIVER 24034-001                  ANTONIO WILLIAMS       04724-088

SEAN TORRES          14098-052             BARBARA                 18029-041
                                           WILLIAMS
MICHAEL              65604-060
TOWNSEND                                   LARRY WILLIAMS          27096-171

ALONZO TUNNELL       64501-037             PARRISH WILLIAMS        34557-183

KIMBERLY UDREA       64680-509             LAWRENCE                40238-424
                                           WILLIAMS
HECTOR VALENTINE     65531-054
                                            DEMETRIUS              35700-001
SCOTT VELEZ          73043-050              WILLIAMS


MICHAEL VESTER       57488-177              ANTAR WILLIAMS         70071-066

RALPH VILLELA        22642-479              DENZEL WILLIAMS        50880-509

WISVELT VOLTAIRE     02169-104              ANTHONY                57933-018
                                            WILLIAMS, JR.
CHAD WADE            22647-058
                                            BENJAMIN WILSON        46321-080
MARIO WAIR           58050-037
                                            TIMOTHY WILSON          10830-029
ANDREW WALKER        76066-067
                                            LAMAZAKI WILSON        54665-177
DARRYL WALKER        13228-016
                                            AMANDAS WILSON         50844-056
NENOWARD             78712-509
                                            JOHN WILSON            59568-056
D'QUEL               58507-056
WASHfNGTON                                  LINWOOD WOOD           55883-056


CEDRIC               14046-026              BRADY WOODS             10770-088
WASHDJGTON
                                            TAQUAN WRIGHT          70942-050
JAMAL WATSON         86761-054
                                            RODNEY WYATT            34895-183
ALONDO WHEELER       49557-1 77
                                            SHAWN YANCEY            90361-509
JACKSON WHITE        80237-083
                                            DEMETRIUS YANCY         15712-028
DOMINIC WHITE        42071-424
                                            TRAMELL YOUNG           21567-032
JAILEN WHITE         33678-510



                                  Page 17 of39
Case 2:17-cr-00106-GRB          Document 376 Filed 01/21/25            Page 18 of 39 PageID #:
                                           1668


        I hereby further commute the total sentence of imprisonment each of the following named
persons is now serving to expire on May 16, 2025. If applicable, I also remit up to $10,000 of the
unpaid balance of the fine or restitution amount imposed by the court that remains at the end of
each person's respective sentence. For any individual that has a term of supervised release or other
components of the sentence, I leave intact and in effect the term of supervised release imposed by
the court with all its conditions and all other components of the sentence. The following persons
are recipients of this grant of clemency:


 Name                        Reg. No.                 Name                        Reg. No.

 CHESTER ADAMSON             11761-196                MARCUS BLAND                94259-083

 JERMAINE AGU                25023-177                 DERWIN BLOCKER              19657-026

 TROY ALEXANDER              07256-015                 JERROD BOBBITT             64816-037

 LARRY ALEXANDER             27706-058                 REGINALD BOLDEN             10658-509

 PLAZE ANDERSON              05862-089                 ANTI IONY BONNER           31360-160

 BRIAN ANDREWS               17977-078                 KENNETH                     18887-056
                                                       BORDEAUX
 NAMIARE ANDREWS             54808-074
                                                       TARRIS BOUIE               25567-171
 KERRY ARDOIN                23426-078
                                                       MACK BOWENS                 10964-042
 ANTHONY BACON               58036-066
                                                       ANDRE BOYD                  17809-280
 PEDRO BAEZ                  01986-138
                                                       CHAVIYAH                    61296-510
 HOWARD BAKER                14954-026                 BRANYON

 KEilI'.'-JTEA BANKS         17680-003                 MICHAEL BRECHT              11206-029

 KENDWALL BAR..c'\JES        55697-056                 KENNETH BROWN,              91401-509
                                                       JR.
 DERRICK BARNETT             59680-509
                                                       DANTE BROWN                 2125 8-041
 HECTOR BATISTA              66374-054
                                                       KEENAN BROWN                14525-084
 SHANNON                     18865-016
 BEARFIELD                                             TREMAINE BROW,\!            30259-057


 CLINTON BELL                19250-078                 MITCHELL BROWNE             26482-510


 ANTHONY BELL                48363-480                 WILLIAM BROXTON             87502-020


 ROBERT BELLAMY              53281-510                 JAMAL BRYANT                02128-509

 JAMIE BETANCES              13058-036                 BENNIE BURGESS              50128-044


 QUENTIN BLACK               19323-033                 JOHN BURGOS                 27401 -038



                                            Page 18of39
Case 2:17-cr-00106-GRB     Document 376 Filed 01/21/25        Page 19 of 39 PageID #:
                                      1669


Name                 Reg. No.                 Name                   Reg.No.

ROBERT BlJRKES-      31430-509                 CRAIG COOLEY          59995-018
KELLEY
                                               KEN'NETH COOPER       22218-026
KEVIN BURTON         65777-019
                                               COTOMI COOPER         63826-056
RAKIM BCTLER         34817-171
                                               OMAR COSTELLO         04775-510
MICHAEL BYRD         34163-171
                                               JASON COSTILLA        42163-060
AURICK CABINESS      50064-177
                                               MARCUS CROCKER        00634-120
KATHERINE            35153-001
CANNON                                         HEYWARD DARGAN        51251-074

ALBERTO CANTON       20531-078                 KIPPUR DAVID          49850-280

DEREK CARR           21397-052                 RASIIAWN              70517-054
                                               DAVIDSON
LAMAR CARTER         10335-082
                                               JUSTIN DAVIS           18050-027
DETRIA CARTER        14689-088
                                               TROY DAVIS             65726-060
JAMES CARTER         07725-509
                                               RONALD DAVIS           31718-509
WALTER CARTER        42401-074
                                               MICHAEL DAVIS          33896-177
LUIS CEPEDA          71282-509
                                               AKEEMDAVIS             26000-058
BASILIO              40493-180
CERVANTES                                      LOVELL DAVIS           71819-509

ELDEMADRE            66573-056                 DEWON DAWSON           66553-060
CHAPMAN
                                               BOBBY                  15502-027
WILBUR CHARITY       52012-056                 DEJOHNETTE

KENNETH CHASTINE     15634-104                 CALVIN DENNIS          21083-040

LOREN CLARKSON-      32298-045                 REGINALD DENSON        32581-509
WHITE
                                               ALDEN DOUGLAS          48177-177
ARNOLD CLAYTON       28226-018
                                               EMMETT DOUGLAS         22666-171
LARRY COE                12294-028
                                               CHRISTOPHER            07199-078
KERRY COLLIER            16347-078             DUDLEY

SEAN COLLINS         20414-050                 JEFFERY DL'NLAP        18294-171

CIRONTA                  19555-509             GIANCI EADY            57827-039
COMMANDER
                                                RAHMANN EASLEY        11719-031
 MONTE CONRAD            15961-510



                                     Page 19 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25      Page 20 of 39 PageID #:
                                    1670


Name                 Reg. No.              Name                  Reg. No.

MONTE ELEY           45544-510             DARREL GREEN          92035-080

GENEVA ELL WOOD      41456-018             RAHEEM GREEN          64614-056

VYSEAN EMBRY         09588-062             ANDRE GRIFFIN         49190-044

LUIS ESCOBEDO        49349-509             ALONZO GRIFFIN        22532-026

KO RON FAIRLEY       51442-074             WANNELL GUYTON        42279-509

SHAQUILLE            17580-104             BRYAN HALL            66106-056
FARQUHARSON
                                           JOEL HAMLIN           71527-510
TYRONE FELDER        17207-052
                                           JOEL HAMMOND          08259-509
ANTHONY FELIU-       52077-509
LOPEZ
                                           DAMIEN                69972-067
                                           HAMMONDS
BYRJON FERGUSON      12838-010
                                           DWAYNE HANDY          21424-052
JOSHUA FIGUERAS      17412-055
                                           DAYID HARLEY          34084-044
JUAN FLORES          86293-509
                                           KENNETH HARPER        14566-055
ANTWAN FLOYD         34194-058
                                           VINCENT IIARRELL      29163-001
DEARIUS              52432-037
FORRESTER
                                           JONATHON HARRIS       25186-510

TERRY FOUNTAIN       08323-003             QUANDREVIUS           16822-480
                                           HARRJS
JEAN FRANK           63224-004
                                           RJCCO HARRIS          21536-084
MORRJS FULLER        70809-053
                                           TROJAN HART           91 100-054
TEVIN GAITHER        34757-058
                                           FREDDIE HARVEY        47348-424
FRANK GAITOR         43971-074
                                           JESSE IIEARD          16600-043
DANIEL GALLEGOS      52172-079
                                            JOSEPH HEITLAND      13157-059
DEMARCUS GIBBS       22715-032
                                            CCRTIS HENDRIX       64080-097
GREGG GIBSO':\!      72556-018
                                            SHAWN HENRY          41483-037
DARRELL GILMORE      13079-030
                                            NORMAN HEWETT        123 74-509
GAMALEGIST           15784-052
                                            HENRY HICKS          08979-510
JOHN GONZALEZ        63776-510
                                            TRA YLIN HICKS       71647-510
LAYELL GORDON        17972-027




                                 Page 20 of 39
Case 2:17-cr-00106-GRB     Document 376 Filed 01/21/25       Page 21 of 39 PageID #:
                                      1671


Name                   Reg. No.                Name                 Reg. No.

ELVIN HICKS            60333-177               LEON JOHNSON         65028-509

DEYONT A HINTON        85886-083               MALCOLM JONES         93832-083

CURTIS HOLMES          99627-020               A;\TTONIO JONES       91338-510

KHALIL HOOD            22639-026               JOSEPH KELLY          25319-001

CHRISTOPHER            16159-089               JAMES KERNS           15935-509
HOWARD
                                               ANTWAN KING           66569-056
DONTAE HUGHES          05294-509
                                               ALEXANDER KING        13590-029
ELIJAH IVERSON         23769-055
                                               ROBERT KINNEY         34904-044
ANTHONY JACKSON        57516-060
                                               DEVIN LAMB            83632-509
ANGELO JACKSON         02811-509
                                               MARK LASHINSKY        04583-095
BYRON JACKSON          02830-509
                                               JOHN LAWRENCE         15330-051
JYSHAWN JACKSON        22900-026
                                               LAMONT LEIGH          78322-061
AMORD JACOBS           65697-056
                                               MELVIN LESLIE         37764-510
SHERROD JAMES          48972-039
                                               JAMONDO LEWIS         06681 -010
KERRY LEE JAMMER       99198-179
                                               TYRONE LEWIS          57314-509
SESLEY JEFFERSON       33060-510
                                               ALPHONSO LEWIS        35165-083
JERMAINE JENNINGS        14738-055
                                               CLIFFORD LINDSEY      53631-074
KEVIN JETT             21025-509
                                               MATTHEW LIPSEY,       14550-040
CARL JOHNSON             14389-510             JR.

TERRANCE                 18890-045             ROY LOCKLEAR          57287-056
JOHNSON
                                               JONATHAN LOGAN        54868-056
 DARREN JOHNSON          57713-177
                                               MICHAEL LOPES         96303-509
CALAHJOHNSON             22312-045
                                               ARTHUR LOVE           76061-067
 RANDY JOHNSON           35303-183
                                               DEDRICK LUCAS         06767-095
 ANTHONY JOHNSON         17275-026
                                                DWAIN LUCA S         76693 -067
 SAQUANJOHNSON           21392-052
                                                DERRICK LUCAS        15529-171
 CHARLES JOHNSO:!',;     60360-177
                                                ARTHUR MANNIE        02750-031



                                     Page 21 of 39
Case 2:17-cr-00106-GRB     Document 376 Filed 01/21/25       Page 22 of 39 PageID #:
                                      1672


Name                 Reg.No.                   Name                 Reg. No.

HAILEY MARTEL        54922-074                 HAKIM MOWBRAY        33648-183

NATHAN MATHIS        59624-177                 RODERICK YIURRAY     22141-043

LACRIE MAXEY         14963-032                 ERVIN MYREE           12472-018

WILLIAM MAYFIELD     04283-509                 BRANDEN NARVAIZ      64590-510

DAMIAN MAYS          22955-031                 GEONNEWBY            72755-510

JARMELL              12496-041                 WALTER NOR.\1AN      56718-056
MAYWEATHER
                                               JONATHON OLD          15331-035
JAMES MCEACHERN      29864-057
                                               DEJON OVERTON         96645-380
GERALD MCGEE         32001-018
                                               KATHLEEN OWENS        12312-028
DARIUS MCGEE         30235-424
                                               JAZAVIAN PALMER       18170-509
LAGENE MCGHEE        43390-509
                                               TRAVIS PARKER         10864-067
CORY MCNEAL          43417-279
                                               KYLEPARKER            53190-509
TONY MCNEIL          64837-056
                                               RHAMEL PATE           26059-052
RAFAEL MELENDEZ      68610-379
                                               STEVE PATE            63524-056
PHILLIP MEL Vf:\J    80410-509
                                               JERRY PEA             37509-034
JAVIER MERCADO-      59966-509
GUZMAN                                         KENNETH               07457-036
                                               PELLETIER
JOHN YIICHAUX        30370-058
                                               FREDDY PERKINS        17775-026
MONTEZ MILLER        18978-510
                                               BOBBY PERKINS         92155-083
DOUGLAS MILLS        34909-183
                                               CHANVUSPERRY          37518-034
JERRY                19891-026
MINNIEWEATHER                                  ERIC PETTIGREW        11153-078

LONDELL MITCHELL     40842-007                 RASHAD PIERCE         74161-510

A;',!TONIO MOORE     52210-056                 GIE PRESTON           32411-034

TIMOTHY MORGAN       53150-056                 JOSEPH RANDER         42207-044

TERNARD MORRIS       31745-171                  KEVIN RATLIFF        12245-017

ANDRE MORTON         72896-050                  MAURICE RAY          97947-509

MAC MOSS                 18588-045              MICHAEL REAVES       64832-037



                                     Page 22 of 39
Case 2:17-cr-00106-GRB     Document 376 Filed 01/21/25        Page 23 of 39 PageID #:
                                      1673


 Name                    Reg. No.              Name                   Reg. No.

 MARCUS REDDICK          25591-056             MARIO TAYLOR            30995-160

 HAFANRILEY              23850-171             TRAMAIN TAYLOR          35225-057

 JULIAN RILEY            20153-055             WILLIAM THATCH          20044-057

 VACHON                  08718-029             NILES THOMPSON          78881-509
 ROBERTSON
                                               KENNETH TIPPINS         71376-018
 KEVIN ROBINSON          26646-180
                                               REBECCA TRISCO          16693-059
 ZHIVAGO ROBINSO1';"     16517-171
                                               DION UNDERWOOD          77087-509
 DENZELL RODGERS         45433-380
                                               TRACY VAUGHN            18523-047
 MIGUEL RODRIGUEZ        14447-018
                                               LEONEL                  11131-196
 KEVIN ROZIER            47110-004             VILLASENOR

 MIGUEL SANCHEZ          07686-509             PEDRO VILLOT-           03430-509
                                               SANTIAGO
 STEVEN SANTANA          63596-054
                                               KEITH VINSON            49066-004
 RANDY SARGEANT          87193-054
                                               DURANZE WADE            38317-510
 BRIAN SA WYERS          13034-047
                                               JEROME WALKER           72465-066
 STEVEN SCOTT            92251-020
                                               MICHAEL WALLACE         01809-380
 NARICCO SCOTT           22266-045
                                               DELTON WARREN           641 77-056
 CLEVEN SCOTT            35161-058
                                               COURTNEY                41831-074
 JAMES SHERMAN           70537-097             WASHINGTON


 WESTLEY SIGGERS         66466-060             MARCUS                  29673-077
                                               WASHINGTON
 LIONEL SIMPSON          29626-031
                                               GREGORY                 17199-029
                                               WASHINGTON
 ROBERTA SLIGH           19843-509

                                               ANTHONY WATKINS         17206-055
 GERALD SMITH            95500-038

                                               DWAYNE WATSON           14108-025
 TONY SOLOMON            38380-037

                                                STEVIE WEST            08769-030
 JEREMY SPELL            93075-083

                                               JOHNNIE                 25149-510
 CHRISTOPHER             55228-083             WHITEHURST
 SPENCER

                                                XAVIER WHITTED         3991 2-509
 LEON SZEWCZYK           31502-068

                                                MICHAEL WILEY          11192-040



                                     Page 23 of 39
Case 2:17-cr-00106-GRB          Document 376 Filed 01/21/25             Page 24 of 39 PageID #:
                                           1674


 Name                        Reg. No.                  Name                       Reg.No.

 HADORI WILLIAMS             29573-064                 BRESHARD WILSON            59038-177

 DARNIEL WILLIAMS            71383-018                 TYRONE WISE                27755-171

 DEMARKESE                   20885-043                 JEREMIAH                   34586-007
 WILLIA.MS                                             WOODFORK

 JOSEPH WILSON               33082-058                 DEVON YOUNG                23887-076

 TYRELL WILSON               72923-050                 DAVID ZAYAS                90670-509

 LAWRENCE WILSON             18053-040


        I hereby further commute the total sentence of imprisonment each of the following named
persons is now serving to expire on July 16, 2025. If applicable, I also remit up to $10,000 of the
unpaid balance of the fine or restitution amount imposed by the court that remains at the end of
each person·s respective sentence. For any individual that has a term of supervised release or other
components of the sentence, I leave intact and in effect the term of supervised release imposed by
the court with all its conditions and all other components of the sentence. The following persons
are recipients of this grant of clemency:


Name                            Reg. No.              Name                            Reg. No.

MUHAMMED                        24895-056             JEAN AMAN                       02783-509
ABDULLAH
                                                      JAMES AMBROSE                   03010-509
CAREY ACKIES                    88900-053
                                                      PAUL ANDERSON                   48988-039
TOMMY ADAMS                     33487-171
                                                      EYITAYO ARAROMI                 49784-280
LONNIE ADDISON                  28416-057
                                                      TIMOTHY ARMSTRONG               75260-509
RODERICK AGNES                  03629-510
                                                      JASON ARROYO                    50127-069
LUIS AGREDANO                    19645-179
                                                      AIIAMAD ATKINS                  47279-424
CHRISTOPHER                     25906-177
ALEXANDER                                             FREDERICK AUGUSTINE             32920-171

CRAIG ALEXANDER                  10855-035            CHARLES AVERY                   40781 -424

JAMES ALEXANDER                 47056-177             JOEY AYALA                      21446-056

SONNY ALLEN                     33004-034             ERIC BADGETT                    08494-032

TERRA~CE ALLEN                  25556-044             LUIS BAEZ-BERRIOS               31093-069

SAMUEL ALVARADO                 05493-748             DAMION BAKER                    421 46-509




                                            Page 24 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 25 of 39 PageID #:
                                    1675


Name                     Reg. No.             Name                     Reg. No.

DARRYL BAKER             08196-018            RODNEY BOLTON            31086-034

BOBBY BANKS              20110-009            TYRONE BOND              22426-026

RANDY BANKS              63078-037            MELVIN BOSWELL           28564-171

JOSHUA BARG              03391-029            WALTER BOULDING          13637-040

JEFFREY BARNES           06657-041            SHERMAN BOWLES           52168-074

SHERMARIE BARNES         14257-025            CHUCK BOYD               98660-004

BERNARD BAR.'\fETT       01598-120            SHABAKA BOYD             30217-424

ISSAC BARRETT            77503-066            LAFAYETTE BOYLE          43075-018

STROLLEN BATTLE          72091-067            JAMES BRADFORD           15406-010

MEL VIN BEASLEY          14287-076            TYRONE BRAGG             04458-509

JASON BECKHAM            28278-171             C RTlS BRANCH           55520-056

DEMARCUS BELK            33316-171             ANTHONY BRITT           02533-509

ANTHONY BELL             64087-004             MINOR BROOKS            96261-004

ERVIN BELL               25137-017             BOBBY BROWN             84417-054

RICHARD BELL             13646-171             BRANDON BROWN           39420-013

LAWRENCE BENBOW          97663-004             CHRISTOPHER BROWN       10980-035

ALTONBEm;                2788 1-057            COREY BROWN             20616-017

JAMES BEN~ETT            20509-047             DELONTA BROWN           70842-509

JA WONE BENNETT          66248-056             DIWANCHA BROWN          24984-047

DONNELL BENSON           55377-056             KEVIN BROWN             56469-056

JASON BEST               34828-077             MICHAEL BROWN           30804-00 1

DAMON BLACKWELL          35262-057             SHAUN BROWN             27733-171

MARKENTZ BLANC           04830-104             TERRANCE BROWN          80552-083

BRENT BLOOMER            09405-033             TIMOTHY BROWN           10979-035

CORINTHIAN BLOL'NT       26529-104             VICTOR BROWN            58525-097

DARRELL BOGARD           18327-027             LLOYD BRUCE             16743-027




                                     Page 25 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 26 of 39 PageID #:
                                    1676


 Name                    Reg. No.             Name                      Reg. No.

 CHRISTINA BRUFFY        54309-177            JEANCAZY                  04175-104

 DANIEL BRUMFIELD        59860-018            BERNARD CHARLES           11945-035

 RANDELL BRUTON-         02787-509            FERRONE CLAIBORNE         36524-083
 SCOTT
                                              ARRON CLARK               19320-021
 JEREMY BRYANT           31681-064
                                              CAL VIN CLAXTON           64812-037
 CHARLES BURKE           35071-060
                                              KIDADA CLAYBORN           26765-045
 JAMES BGRKS, JR.        19679-083
                                              ANTHONY CLEVELAND         66811-060
 NATHANIEL BURNS         15256-030
                                              ANTONIO CLIFTON           18686-076
 LADARRIGSBURRIS         34985-058
                                              KEYVON CLIFTON            05320-510
 STEVEN BURTON           51136-298
                                              FRED CLOUD                54495-060
 TYWHON BUTLER           62350-060
                                              ANDRE COFIELD             66013-054
 AHMAD BYRD              58299-177
                                              CHADRICK COLBERT          13327-062
 DEANDRE BYRD            55724-177
                                              CALVIN COLE               30673-076
 ROY CABACCANG           01393-093
                                              MARQG'ISE COLEMAN         16170-510
 LUIS CABAN              78188-054
                                              MICHAEL COLEMAN           29371-01 6
 ROMANDO CALLINS         55740-018
                                              MICHELE COLEMAN           73980-510
 CEDRIC CALMES           01915-122
                                              JIHAD COLES               67004-050
 ALSTON CANIPBELL        17201-029
                                              LAMATAVOUS COLLINS        20970-171
 JAKEITH CAMPBELL        12788-003
                                              JESSE COLON               05581-027
 JAMES CAMPBELL          45397-074
                                              TOMMY COMPTON             17461-028
 KAREEM CAl\llPBELL      05167-082
                                              CATRINA CONNER            36380-180
 CHARLES CAN'NON         16404-040
                                              TINA CONNOLLY             54308-177
 JOHN CARMICHAEL         41387-510
                                              KEENAN CONYERS-           51785-056
 TERRANCE CARR           59192-056            PRICE

 ERNESTO CARREON         55388-079            GWENDOLYN COOKS           57974-080

 LEONARD                 88209-079            ALVIN COOPER              16586-078
 CASTLEBERRY
                                              CHRISTOPHER COOPER        18750-380



                                    Page 26 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25          Page 27 of 39 PageID #:
                                    1677


Name                     Reg. No.             Name                      Reg. No.

IVAN COPELAND            82569-083            RAHEEM DA VIS             58146-054

KENYATTA                 09531-030            REGINAL DAVIS             99905-020
CORt'\J"ELOUS
                                              ROSHAWN DAVIS             60581-004
LORENZO COSTON           48926-509
                                              SHELTON DAVIS             12299-003
ANTHONY COVIL            92427-083
                                              UNDRADAVIS                44388-074
JAMEL COVINGTO~          77573-066
                                              DARRELL DAWSON            91711-280
DA~i--.;y COX            40040-074
                                              ANTOINE DEAN              61281-065
DONTAYCOX                56182-037
                                              NATHANIEL DEAN            45770-004
EDDIE CRISS              18104-030
                                              HAROLD DEATLEY            09426-032
AARON CROSBY             66677-060
                                              FREDDY DEL TORO           46848-510
JEAN CRUZ                225 14-069
                                              DANIEL DELVALLE           67242-054
LAVERTISE CCDJOE         16426-064
                                              DARRELL DENNARD           34039-510
MICHAEL CULP             42570-074
                                              JAMIE DIXON               22445-171
LEONARD                  44457-083
CUNNINGHAM
                                              SEAN DOCTOR               24388-171

SYLVESTER                11912-029            PAUL DONEY                08194-046
CUNNNGHAM

                                              TRACEY DOUGLAS            22661-1 7 1
JASPER CUTHRELL          34996-057

                                              DERRICK DOWNS             11254-030
DEMETRIUS DAL TON        45961-074

                                              TAVIS DOYLE               08598-025
TAVARES DALTON           45964-074

                                              ANTHONY DRAPER            00986-510
CLOREATHEA DANIELS       11219-067

                                              KEITH DRUMMOND            76838-061
RASHEED DANIELS          21163-051

                                              NEHEME DUCTANT            21209-017
DAMON DANOS              31093-034

                                              SURRELL DUFF              23346-058
ERNEST DARCUS            06352-084

                                              MARCO DUNCAN              37679-048
DEANDRA DAVIS            21993-017

                                              ANTTWAINE DUNLAP          55315-083
DEANDREA DAVIS           16744-027
                                              FREDERICK DURHAM          11190-058
ELONZO DAVIS             65761 -060
                                              ROBERT EARL y             03005-084
NORMAN DAVIS             73473-510



                                    Page 27 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 28 of 39 PageID #:
                                    1678


Name                     Reg. No.             Name                     Reg. No.

DAYID EARNEST            03721-025            DEANDRE FORREST          66552-061

DEVIN EBRON              63874-056            MAURICE FORREST          14407-040

CHAD EDWARDS             21778-052            KENNETH FOSTER           22426-058

PAMELA EDWARDS           35494-001            RICKY FOUNTAIN           69790-066

MARCUSEGARTON            02883-510            QUACY FRANCIS            16608-035

ERNESTO ESTRADA          05888-090            RICHARD FULTON           67165-053

DERRICK EVANS            13322-084            ANTHONY GADSON           16261-006

WARREN EVANS             58902-037            STACY GAGE               16460-078

DONALD EWING             20487-075            DAMEL GAI~ES             32772-068

JAMES FAREBEE            64181-056            DWAIN GAINES             17563-026

JESUS FARFAN             82056-279            RONALD GALES             31610-044

JER.i.\1AINE FARMER      16276-056            CHARLES GAMBLE            10160-028

CARTAVIUS                22035-026            EDGAR GAMORY             60081-019
FARRINGTON
                                              CHRISTIAN GARCIA-        52284-069
AMIR FEREBEE             10508-509            NAZARIO

DEXTER FERGCSON-         58588-510            MEL VIN GARLAND          53188-037
FULLER
                                              JOE GARRETT              37625-060
ANDRE FIELDS             13426-036
                                              LAMOND GARRETT            10241 -021
PAUL FISCHANG            76449-198
                                              RAYSHON GARTLEY          99672-555
GARRETT FISHER           76062-067
                                              GREGORY GARTON           08800-09 1
JOHNNY FLETCHER          33617-171
                                              ROBIN GATEWOOD           27771-180
TIESHORN FLETCHER        26854-050
                                              GEORGE GEE                37389-037
SHANE FLORES             35729-509
                                              KALEAF GILBERT            77555-066
JEAN FLORES-TORRES       16075-510
                                              RASHAWN GILBERT           70066-066
CHESTER FLOYD            07439-090
                                              CHARLES GILLIAM           05704-748
TERRENCE FLOYD           47988-509
                                              ROBERT GILLINS            26500-083
 ANDRE FORBES            10557-027
                                              LEROY GLADDEN             35350-058



                                    Page 28 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25         Page 29 of 39 PageID #:
                                    1679


Name                     Reg. No.             Name                     Reg. No.

KEITH GLISS              79283-007            ERNEST HARMON            5661 4-037

MARVIN GOLDEN            12261-028            CHRISTOPHER HARRIS       47400-424

AXEL GOMEZ               64612-066            MICHAEL HARRIS           05428-028

MICHAEL GONZALEZ         87547-054            RONALD HARRIS            40276-510

RAMON GONZALEZ           37767-079            SAQUAWN HARRIS           27977-016

CARLOS GOODMA:\J         56331-018            KARIM HASAN              47876-074

JAMES GORDO~             35392-177            DARNELL HASKINS          36256-083

DEMETRE GRACE            08708-030            MICHAEL HAYES            12354-082

MASHAHRI GRAHAM          96042-071            MICHAEL HAYES            22072-171

WILLIAM GRAHAM           41618-074            COREY HAYNES             50787-509

BRUCE GRANADO            59532-177            WAYNE HENDERSON          61617-066

ALLEN GRAVES             49400-039            SAMHENRlCY               07441-104

JOHN GRAVES              07695-510            ASHANTI HENRY            08816-067

AMEEN GREEN              69746-066            MICHELLE HERDS           39202-510

DAMINE GREEN             22051-032            ANTON HERNANDEZ          55652-018

ROBERT GREEN             68692-510            EDUARDO HERNANDEZ        02528-748

TONY GREGG               36787-083            HECTOR HERNANDEZ-        53099-069
                                              NIEVES
THADDEUS GRICE           21455-055
                                              BILLY IIICKS             08876-028
LEROY GRIFFIN            56257-066
                                              MICHAEL HICKS            10169-028
TYRON GUNTER             27962-171
                                              STEVE HICKS              91404-083
JOSEPH HALL              41584-048
                                              OLIVER HIGGINS           20518-076
MICHAEL HANSLEY          69976-067
                                              CURTIS HIGHT             2288 1-032
WILLIE HARDIMAN          08076-028
                                              PACHINO HILL             11214-030
ANTWAN HARDY             36442-510
                                              TYSHAWN HILL             41161-074
CEDRIC HARDY             54469-074
                                              BRIAN HIME               20003-052
JOSEPH HARGETT           64893-056
                                              GARRY HINES              65285-056



                                    Page 29 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 30 of 39 PageID #:
                                    1680


Name                     Reg. No.             Name                     Reg. No.

WILLIAM HINTON           55490-060            FIRKON JAMES             20372-055

EMANUEL HODGE            96137-020            SAMUEL JAMES             51081-018

REUBEN HOLLIDAY          45488-510            RUDOLPH JAMISON III      85052-083

MICHAEL HOLT             35517-177            TODD JARVIS              08133 -082

ROMAINE HOPKINS          91250-053            RICK JEAN                55607-018

RICHARD HOSKINS          11124-030            PERCY JEFFERSON          18314-026

DERRICK HOUSE            57719-177            TREMEC JEFFRIES          10029-055

WILLIAM HOWARD           68963-018            BRODRICK JENKINS         11848-059

FRANKLIN HUDGE~S         58226-177            MORRIS JENKINS           90824-020

ANTO~ HUGHES             08603-025            RUSSELL JENKINS          87748-020

CHRISTILE HUGHES-        69797-509            CHRISTOPHER              21283-041
DILLO~                                        JENNINGS

WINFRED HENT             75603-004            SHAWNEE JENNINGS         58752-056

EARL HUNTER              38284-018            ANDREIS JENRETTE         65809-056

JOHN HYDE                25604-057            ADIEAS JOHNSON           77158-067

GEORGE INGRAVl           66554-280            JARED JOHNSON             03290-509

TORIVIS INGRAM            14746-104           JARREL JOHNSON            16362-055

 LEONIDAS IRAHETA        563 17-112           JOHNNY JOHNSON            01009-380

 VLADIMIR IRAHETA         56316-112            JOSEPH JOHNSON           38172-177

 MALCOLM JACKSON          66377-056            MARDALE JOHNSON          11845-059

 TEONTRIC JACKSON         02829-509            MAURICE JOHNSON          34100-177

 TWILEY JACKSON           14064-029            MICHAEL JOHNSON          08736-045

 TODD JACKSON, SR.        76120-004            RICKY JOHNSON            12783-030

 LATRAIL JACKSON, SR.     17711-002            ROY JOHNSON              16817-078

 GERALD JACOBS            48789-509            SHAMAIN JOHNSON          25350-075

 KENCHEL'L JACQUES        67062-056            TRACY JOHNSON            20140-077

 DANIEL JAMES             25325-111            TRAVIS JOIBJSON          29876-280



                                     Page 30 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 31 of 39 PageID #:
                                    1681


Name                     Reg. No.             Name                     Reg. No.

TYJONTE JOH:\ISON        16514-509            CHRISTOPHER KELSO        31658-074

 WENDELL JOHNSON         08154-025            DEMETRIUS KEY             14494-045

ALONZO JONES             25859-057            LEON KING                 68337-509

CHRISTOPHER JONES        15921-074            TEDRICK KING              18242-104

COREY JONES              17615-030            MARK KIRKSEY              57381-004

 DWIGHT JONES            56719-056            LAWRENCE KNOX             22355-077

 KEWARREN JONES          19211-018            WILLIAM KNOX              27533-058

 MACK JONES              41157-050            STEVEN KOEFFLER           13405-104

 PATRICK JONES           60763-080            ERIC KRUEGER              37033-177

 RANDY JONES             55959-056            TASIIALANG                09421-032

 RASHAUDJONES            21425-014            DONALD LANGRAM            03626-025

 STEVE JONES             06109-025            TYQUAN LANGSTON           77155-067

 SYLV ANUS JONES         45217-074            BRIAN LASLEY              15014-510

 TYREICE JONES           32281-009            ANTONIE LATIMORE          72766-018

 DWIGHT JORDA}.;         72254-298            BRANDON LATSON            12174-055

 JEREL JORDA:'!          63092-056            MICHELLE LEE              42051-1 77

 JOHN JORDA~             72193-019            JOIIN LEIGH               03857-087

 RONNIE JORDAN           28911-055            JACKIE LENARD             57930-080

 WAYNE JORDAN            07142-021            JOHNNY LEONARD            51331-004

 CARLTON JOYNER          39281-007            DEANDRE LEWIS             24956-044

 MONTERIE JUNIOUS        19038-056            JAMES LEWIS               46457-177

 ANDRE KAUFMAi'\f        18160-074            ELTRENTROSE               26995-083
                                              LIVERMAN
 ONTARIO KEE             76753-083
                                              MARJOLLOYD                99549-024
 LAQUAN KELLAM           72509-067
                                              QUINCEY LOCKHART          91272-004
 BOBBY KELLEY            09581-062
                                              DANIEL LOGAN              55165-056
 ERIC KELLY              15402-104
                                              ANTHONY LONDON            14181-111



                                    Page 31 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 32 of 39 PageID #:
                                    1682


Name                     Reg. No.             Name                    Reg. No.

RONNIE LOPEZ             40387-050            LIONEL MAURlCE          16763-043

CARLOS LOPEZ-SANTOS      45056-510            LAZELLE MAXWELL         17943-039

QUARTER LOUNGE           00678-088            BRYANT MAYBELL          08167-025

QUALO LOWERY             20502-058            ANTOINE MAYES           78351-053

HARVEY LUCAS             48727-074            ROBERT MAYFIELD         76039-097

WILLIAM LUCAS            51786-408            BARTHOLOMEW MAYS        27877-180

LUIS LUGO-VELEZ          22515-069            JOSEPH MAZARD           86293-004

RlCKYLYLES               30671-007            ANTONIO MCARTHUR        64408-056

RONALD L YMUEL           45110-079            DELWIN MCCLAREN         33914-034

ALBERT MADRID            28765-086            RICHARD MCCORMICK       64911-056

XAVIER MAJETTE           27929-057            ALEX MCCOY              22496-058

FEDERICO                 36989-509            SYLVESTER MCCOY         87157-509
MALDONADO
                                              CHAVIS MCCRAY           29705-171
PERRY MALONE             07143-003
                                              RAFAEL MCDANIEL         28366-009
ANDREA MANASSA           17636-003
                                              TERREALL MCDANIEL       28054-045
BERSON MARI-CS           08116-104
                                              BILL MCGREW             57713-509
CLARENCE MARSHALL        20533-017
                                              RlCHARD MCGUIRE         94037-509
ERlC MARSHALL            01928-025
                                              ALONZO MCINTOSH         77863-054
ADAM MARTIJ\;            64803-037
                                              MARCUS MCINTOSH         04087-045
ARTHUR MARTIN            45616-074
                                              RUSSELL MCINTOSH        14768-058
CORRAIL !vfARTIN         54050-039
                                              JASON MCKINNEY          55169-060
KENNETH MARTC\J"         29253-179
                                              TREMELL MCKINNEY        53758-056
TROY MARTIN              21567-424
                                              JERMAINE MCKINNON       32391-509
CLAUDIO MARTINEZ,        06949-051
JR.                                           CLYDE MCKNIGHT          80631-065

DERRlCK !vfASON          72967-509            TRISTAN MCLAURIN        02520-511

JUSTIN MATTHEWS          20723-058            CAMERON MCMANUS         03004-509




                                    Page 32 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25       Page 33 of 39 PageID #:
                                    1683


Name                     Reg. No.              Name                   Reg. No.

JEFFREY MCMARYIO~        83165-080             MONIQUE MOORE          71372-018

MICHAEL MCMOORE          90754-053             MYRON MOORE            21568-032

MARCUS YICNEILL          12298-056             TERRY MOORE            35398-054

JAMES MCTAGlJE           92500-012             ORLANDO MORA           06561-091

DERWIN MCWAINE           10797-042             JULIO MORALES          63164-066

JERRY MELTON             01999-509             JOSHUA MORALES-        33205-510
                                               BATISTA
DEWAYNE MELVIN           17547-056
                                               JONATHAN MORLEY        83284-004
ERNESTO MENDEZ-          34732-069
ROMA~                                          WILLIAM MORRISON       18009-052

ARMANDO MENDOZA          36915-509             YOLANDA MOTON          83520-083

AARON MERCER             66006-51 0            CARLOS MUNAYCO         31225-112

BRYAN MILLER             27960-064             JAMIL MURRAY           68691-066

CHARLES MILLER           41591-424             TERRY MURRAY           14155-052

TERRY MILLER             09424-030             FREDDRICK NEELY        10958-029

DENNIS MINTER            34748-057             JOENDY NEGRON-         52115-069
                                               LAPORTE
APRIL MITCHELL           85586-280
                                                MALIK NELSON          60413-050
CHARLES MITCHELL         60544-177
                                                TAMARA NELSON          10096-040
CHRISTOPHER              55590-509
MITCHELL                                        TONIA NELSON          84110-004

JERMAINE MITCHELL        22823-014              THOMAS NEWMAN          48726-074

TODD MITCHELL            86084-083              DARRELL NEWTON         27563-055

 TONY MITCHELL           20705-076              JOIINNEWTON            56067-112

 SEAN MOFFITT            09910-068              TAVEON NIXON           65750-056

 SALAH MOHAMED           79212-083              FRANK OLIVER           70059-066

 GARY MONTGOMERY         42279-177              ELI ORR                11754-042

 EMANUEL MOORE            18176-030             RAFAEL ORTIZ           46376-509

 JASON MOORE              91560-053             DANIEL ORTIZ MEDINA    111 28-069




                                      Page 33 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25         Page 34 of 39 PageID #:
                                    1684


Name                     Reg. No.             Name                       Reg. No.

 MARIO OSBORNE           14344-003            MACRICE PITTMAN            01351-025

 LAMONT OWENS            28181-045            WILLIE PITTMAN             17080-045

 LEZLI OWENS             50073-177            ZACHARY POOLE              21523-040

 JOSHUA PARDUE           27870-180            DAVID PORTER               93686-083

 FRANK PARKER            22644-058            MARLON PORTER              67360-056

 HANDSOME PARKER         20965-040            JOHN POSEY                 27175-180

 PATRICK PARKS           42123-074            BRIEN POWELL               22701-078

 STANLEY PARTMAN         23167-171            TONY POWELL                61525-08 0

 ERIC PASS               44694-510            MARCUS PRICE               51737-074

 MARVIN PATRICK          35014-056            ZACOREY PRICE              76160-509

 TERELL PATRICK          38759-509            FREDERICK PRIESTER         11467-510

 JOHN PATTERSON          253 14-018           KELVIN PROVOST             34035-034

 ADRIA~ PEELER           13443-014            TERRY PRUITT               55496-039

 JAMES PEIRSOL           I 8722-023           WALLACE PUGH               19750-026

 COSTA PENDER            56522-056            MICHAEL PUZEY              23940-016

 MICHAEL PEREZ           70456-018            ANTONIO QUINN              10317-031

 ROGELIO PEREZ           44713-424            ANTHONY RANDOLPH           22356-052

 DAMIEN PERRY            25201-014            DARRELL RANDOLPH           15958-076

 EDDIE PERRY             87464-020            TROY RANDOLPH              69845-067

 MONTREUSPETERSON        91718-083            ANTHONY RANKINS            01472-509

 EDWIN PETTAWAY          36222-001            RONALD RAZZ                75088-004

 ANTHONY PETTUS          33509-058            MALCOLM REDMON             26997-045

 SEAN PETTY              76773-509            CLEOPHC'S REED             21513 -04 1

 KEON PI IILLIPS         87521-020            PHILLIP REED               57959-177

 ISIAH PIERCE            27208-055            ANTONYO REESE              12268-029

 DEMARCL'S PINDER        22178-040            TALIH REEVES               26105-050




                                    Page 34 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 35 of 39 PageID #:
                                    1685


 Name                    Reg. No.             Name                      Reg. No.

 CLARENCE REMBLE         32120-112            KEITH ROGERS              56843-509

 BYRON RENICKS           15434-026            TERRANCE ROGERS           39731-510

 TA V ARRAS RHODES       34169-183            EDDIE ROLLINS             40628-074

 TREN'NON RICE           34309-171            ROBERT ROSADO             22977-509

 EDDIE RICHARDSON        02575-424            LUIS ROSARIO-RIVAS        26659-069

 JEREMY RICHARDSON       56383-056            CARLOS ROSS               96642-380

 KHALFINI RICHARDSON     70244-050            CLIFTON ROSS              09595-509

 MCKINLEY                12982-042            CORY ROSS                 59712-509
 RICHARDSO~
                                              DAVID ROSTAN              23005-004
 STANLEY RICHARDSON      63323-037
                                              DENNIS ROWSEY             78619-083
 TERRENCE                36543-083
 RICHARDSON                                   JABARR RUDOLPH            62875-056

 CAPONE RIDLEY           00856-510            DONTEZ RUFFIN             55787-056

 ISAIAH RIEVES           01889-138            LASHAWN RUSHNG            18360-021

 MICHAEL RINALDI         09590-067            NELSON SALCEDO            40389-050

 TONY RIVERA             27357-112            DARAYVON SANDERS          27322-180

 JOSE RIVERA-DE LEON     45058-510            DENVER SANGSTER           38180-068

 JONATHAN RIVERS         03019-509            EDGUARDO SANTIAGO         68068-066

 JOSHUA ROBERTS          46451-074            ISRAEL SANTIAGO-          10947-069
                                              LGGO
 KEELA ROBERTS           44075-480
                                              ERIC SAUNDERS             42112-060
 ANTWAIN ROBINSON        42006-177
                                              JAMES SCALES              14069-379
 TERRANCE ROBINSON       96609-020
                                              AMOS SCOTT                16665-058
 LUIS ROBLES             00734-511
                                              CHRISTOPHER SCOTT         86625-509
 KENRIC RODNEY           09965-078
                                              SHERMAN SCOTT             17855-510
 DANIEL RODRIGUEZ        21537-055
                                              JOSE SEPULVEDA            14878-069
 MICHAEL RODRIGL'EZ-     43059-069
 MALDONADO                                    ANTONIO SEYMON            17488-026

 ANTHONY ROGERS          12581-087            ERNEST SHAW               263 73-052



                                    Page 35 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25           Page 36 of 39 PageID #:
                                    1686


Name                     Reg. No.             Name                        Reg. No.

GREGORY SHELL            06801-424            JAMES STANLEY              71571-018

FRED SHELTON             96338-020            CHRISTINA STATON           48921-177

EMANl.:AL SHORTEN        27967-171            BRIAN STEELE               29741-001

LARRY SIYIMONS           21353-171            CLARENCE STEPHENS           17894-280

MAURICE SINCLAIR         10779-510            JUAN STEVENS                19428-079

SHERRY SLOANE            12140-084            KEITH STEWART              25087-050

EL'GENE SMALLS           27410-083            JEAN ST. LOUIS              07465-104

ANTHONY SMITH            40955-424            JOHN STOKES                 17194-509

ANTONIO SMITH            36478-180            HAROLD STONE                09038-007

JAMEL SMITH              64669-060            MACK STONE                  16728-075

JAMES SMITH              34174-018            ADAM STRONG                 22872-014

JESSIE SMITH             91673-053            ANTHONY STUTSON             18418-001

JOHN SMITH               27665-180            BOBBY SUGGS                 06578-028

KENNETH SMITH            80899-510            MATTHEW SULLIVAN            15791-026

LAKENTO SMITH            12631-040            ANTONIEA                    14894-074
                                              SUMYIERROW
MICHAEL SMITH            32403-001
                                              DEVON SYKES                 52131-424
MICHAEL SMITH            24620-171
                                              CARMEN TATE                 02551 -424
SHAWT',;IE SMITH         76837-067
                                              ATAVENTATUM                 22144-031
CALVIN SNOWTON           54441-509
                                              AARON TAYLOR                56080-066
CALVIN SOLOMO~           17008-018
                                              HOWARD TAYLOR               35623-177
HEAVENLY                 18547-083
SOVEREIGNTY                                   JIMMY TAYLOR                99589-020

KENNETH SPEAR..i\1A~     20040-509            MUHAMMAD TAYLOR             87681-379

RHETT SPEARS             30243-068            ANTHONY TEMONEY             78553-509

WILLIAM SPENCE           54860-177            ALVIN THOMAS                10246-509

SONYA SPIVEY             03331-104            CALVIN THOMAS               34941 -17 1

DONNELL STANFORD         51748-056            DEMETRIUS THOMAS            70218-509



                                    Page 36 of 39
Case 2:17-cr-00106-GRB   Document 376 Filed 01/21/25        Page 37 of 39 PageID #:
                                    1687


Name                     Reg. ~ o.            Name                     Reg. No.

DERRICK THOMAS           58504-177            TIMOTHY WALKER           48340-066

DWIGHT THOMAS            27662-001            PATRICK WALLACE          09819-026

KEON THOMAS              18010-040            CEDRIC WALLS             18848-026

MARIO THOMAS             12297-010            CHARITY WARD             54938-510

RODNEY THOMAS            65047-056            DEMETRIC WARD            19276-056

ALFRED THOMPSON          36970-007            KENDRA WARD              53803-177

EGGE~!£ THOMPSON         27443-034            LARRY WARD               55725-056

KEITH THOMPSO~           66956-066            ADRIAN WARREN            22907-01 7

LEE THOMPSON             19792-013            BRYAN WASHINGTON         32170-034

SABRA.N INO THOMPSON     11500-029            JAMES WASHINGTON         08297-088

TOZINE TILLER            67065-050            LEON WASHINGTON          03291-509

CURTIS TITUS             64854-279            ~ATHANIEL WATKINS        16598-083

THOMAS TOOMES            22280-076            RICARDO WATKINS           17709-424

PATRJCK TORRENCE         24560-018            LAMONTE WATSON           44345-039

JULIO TORRES             37005-509            WILLIAM WATTS             18247-026

RlCARDO TOWNSEND         08785-030             STEVEN WEATHERSBY        31840-034

 ANTHONY TRAPPIER         1704 1-1 71         MARQUES WEBB              10379-5 10

 LORENZO TUCKER           13282-171            MICHAEL WEEKS            66665-056

 WILLIE TUCKER            78843-054            DWIGHT WEEMS             08526-085

 MATTHEW TCRNER           22489-424            MICHAEL WELLS            43821-037

 NEHMANN TURNER           57491 -039           AVERY WEST               34505-044

 STEVE TYLER              10040-180            ANTHONY WHITE            90767-280

 JOHN VAUGHN              55968-056            ISMALIUS WHITE           25613-056

 AMIN WADLEY              7 1969-066           ROBERT WHITE             06819-03 1

 DERRICK WALKER           11126-017            TOMMIE WHITE             06777-003

 MALIK WALKER             07342-509            BROC WHITFIELD           21100-03 2




                                     Page 37 of 39
Case 2:17-cr-00106-GRB          Document 376 Filed 01/21/25              Page 38 of 39 PageID #:
                                           1688


Name                            Reg. No.              Name                             Reg. No.

CHARLES WHORLEY                 86724-509             SUSAN WILLIAMS                   53909-177

JOHNNY WICKWARE                 29412-078             TERRILL WILLIAMS                 34264-057

ZACCHE~S WIGGINS                11842-017             THOMAS WILLIAMS                  06650-510

CLAUDE WILEY                    07477-028             WALTER WILLIAMS                  30224-074

SHA\VN WILEY                    13716-058             BRANDON WILSON                   16100-029

DIABLO WILLIAM                  23617-047             DARIGS WILSON                    39119-037

ANTHONY WILLIAMS                51975-424             FREDDIE WILSON                   22570-040

ANTONIO WILLIAMS                21346-056             RODNEY WILSON                    10187-084

BRIAN WILLIAMS                  83236-509             RICHARD WINCHESTER               43157-007

CALVIN WILLIAMS                 51977-424             ALPHAEUS                         21864-032
                                                      WITHERSPOON
DANIEL WILLIAMS                 42661-510
                                                      MELISSA                          53166-074
DARBY WILLIAMS                  23920-510             WOLFENBARGER


DAVID WILLIAMS                  24383-018             ROBERT WOODS                     86376-020


JABARI WILLIAMS                 05144-017              EDMOND WRIGHT                   30180-077


JAMIE WILLIA~S                  21537-018              TYROME WRIGHT                   71356-018


LEONARDO WILLIAMS               26057-076              BROCKYANCEY                      14005-052


LEVAR WILLIAMS                  42668-074              JOSEPH YOUNG                     01022-748


 MARIO WILLIAMS                  11102-030             TERRANCE YOlNG                   05600-027


 MUHAMMAD WILLIAMS              07382-017              REGINALD                         05733-095
                                                       YOUNGBLOOD
 PATRICK WILLIAMS                72300-004
                                                       THEODORA ZAZWETA                 10622-023
 ROBERT WILLIAMS                 63342-066
                                                       MARCUS ZOLICOFFER                47625-039
 RONNIE WILLIAMS                 09468-021



       I HEREBY DESIGNATE, direct, and empower the Pardon Attorney, as my
representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as evidence
of my action in order to carry into effect the terms of these grants of clemency, and to deliver a
certified copy of the signed warrant to each person to whom I have granted clemency as evidence
of my action.



                                            Page 38 of 39
 Case 2:17-cr-00106-GRB          Document 376 Filed 01/21/25        Page 39 of 39 PageID #:
                                            1689


       IN TESTI MONY WHEREOF I have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.

                                               Done at the City of Washington this 17th
                                               day ofJanuary in the year of our Lord
                                               Two Thousand and Twenty-Five and ofthe
                                               Independence of the United States the
                                               Two Hundred and Forty-Ninth.




                                                           ,{J~ J
                                               JOSEPH R. BIDEN JR.
                                                   President




                                           Page 39 of 39
